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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 SYMBOLOGY INNOVATIONS LLC,

             Plaintiff,
                                                     C.A. No. 1:19-cv-00881-MN
       v.

 GLANBIA PERFORMANCE NUTRITION
 (MANUFACTURING), INC. d/b/a
 OPTIMUM NUTRITION, INC.,

             Defendant.


                  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC and Defendant Glanbia Performance Nutrition

(Manufacturing), Inc. d/b/a Optimum Nutrition, Inc., pursuant to Federal Rule of Civil Procedure

41(a), hereby move for an order dismissing all claims by Plaintiff against Defendant with prejudice

and counterclaims by Defendant against Plaintiff without prejudice. Each party shall bear its own

costs, expenses, and attorneys’ fees.

 Dated: July 11, 2019                          Respectfully Submitted,

 FISH & RICHARDSON P.C.                        DEVLIN LAW FIRM LLC

 /s/ Jeremy D. Anderson                        /s/ Timothy Devlin
 Jeremy D. Anderson (#4515)                    Timothy Devlin (No. 4241)
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 ATTORNEYS FOR DEFENDANT                       ATTORNEYS FOR PLAINTIFF
 GLANBIA PERFORMANCE                           SYMBOLOGY INNOVATIONS LLC
 NUTRITION (MANUFACTURING),
 INC. d/b/a OPTIMUM NUTRITION,
 INC.
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          SO ORDERED, this ______
                            WK day RI July, 2019.


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                                                           _ _____________________
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                                          7KH
                                             H Honoorar ble Maryellen Noreika
                                          8QLWHG6WDWHV'LVWULFW-XGJH
                                          8QLWHGG 6WDWHV 'LVWULFW -XGJH
